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12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14
     IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
15   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION
16                                             PLAINTIFFS’ LOCAL RULE 16-10
     THIS DOCUMENT RELATES TO                  TRIAL BRIEF
17   ALL ACTIONS
                                               JUDGE: Hon. Philip S. Gutierrez
18                                             TRIAL DATE: June 5, 2024
                                               COURTROOM:
19                                              First Street Courthouse
                                                350 West 1st Street
20                                              Courtroom 6A
                                                Los Angeles, CA 90012
21
                                               REDACTED VERSION OF
22                                             DOCUMENT PROPOSED TO BE
                                               FILED UNDER SEAL
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 1   I.    INTRODUCTION
 2         Plaintiffs respectfully submit this trial brief pursuant to Local Rule 16-10 to
 3   reply to certain issues raised in Defendants’ Memorandum of Contentions of Fact
 4   and Law and the Final Pretrial Conference that remain unresolved, including:
 5         x Defendants’ Foundation Objections: Defendants’ position that
 6           Plaintiffs must call a “sponsoring witness” in order to “lay
             foundation” for documents that are, on their face, authentic,
 7           relevant, and not hearsay.
 8         x Issues Relating to Defendants’ Evidence of Product Quality:
 9
             Defendants’ intent to introduce evidence of “quality” in violation of
             the Court’s Order of Plaintiffs’ Motion in Limine No. 2.
10
           x Defendants’ Objection to Statements Made by Jerry Jones in a
11           Complaint: Defendants’ position that any evidence with connection
             to other related litigation is inadmissible.
12

13         x Issues Concerning Deposition Videos: The parties’ remaining
             disputes concerning publishing deposition videos, including
14           Defendants’ improper attempt to (1) exceed the scope of FRE 106
             to play to the jury long passages of witness’s deposition testimony
15           that are not needed for optional completeness purposes; (2) preclude
16
             Plaintiffs from ordering the deposition videos in a way that will aid
             juror comprehension, as permitted by the rules; and (3) prevent
17           Plaintiffs from playing short excerpts of non-cumulative deposition
             testimony from key witness Brian Rolapp and the NFL’s 30(b)(6)
18           representative. The 30(b)(6) testimony is by definition non-
             cumulative because Rolapp is testifying at trial only in his individual
19           capacity.
20
           x Defendants’ Use of Other Sports as a Sword/Shield: The extent to
21           which Defendants may introduce evidence or make arguments about
             telecasts of professional baseball, basketball, and hockey games,
22           having won their Motion in Limine to preclude Plaintiffs from
23
             introducing evidence that such sports leagues were sued for antitrust
             violations about their restrictions on telecasts, which resolved
24           through settlement.
25   II.   ARGUMENT
           A. The Court Should Overrule Defendants’ Meritless “Foundation”
26            and Related Objections.
27         Defendants have requested that the Court deny the admissibility of any
28   document that was not authored or received by a trial witness—a meritless attempt


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 1   to limit the admission of documentary evidence that does not require any sponsoring
 2   witness to be admitted into evidence. Defendants wrongly claim that only a trial
 3   witness who authored or received the document at issue can provide the necessary
 4   foundation for a document’s admissibility. Defendants’ position is contrary to the
 5   Federal Rules of Evidence. As discussed below, the Court may determine questions
 6   of admissibility from the face of the documents in question. No further “foundation”
 7   from the document’s author or recipient is required.
 8               1.   The Court May Determine Foundation from the Document
                      Itself and No “Sponsoring Witness” Is Required.
 9         “Foundation” means different things in different contexts under the Federal
10   Rules of Evidence. Foundation as to the admissibility of a document means evidence
11   sufficient to support a finding that the document is 1) authentic; 2) relevant; and 3)
12   not subject to another substantive evidentiary objection, such as privilege or hearsay.
13   Fed. R. Evid. 901(a), 104(b); see Garber v. United States, 2017 WL 797096, at *3
14   n.4 (C.D. Cal. Feb. 27, 2017) (describing foundation as “demonstrating that
15   [evidence is] authentic, relevant, and admissible despite being hearsay”). As shown
16   below, all three requirements are satisfied from the face of the documents in question
17   and, in most cases, the lack of any specific objection by Defendants.
18         “There is no freestanding ‘sponsoring witness’ requirement in the Federal
19   Rules of Evidence.” TEK Glob., S.R.L. v. Sealant Sys. Int’l, Inc., 2017 WL 952955,
20   at *1 (N.D. Cal. Mar. 12, 2017) (admitting documents in jury trial without sponsoring
21   witness because court determined they were authentic, relevant, and not hearsay); see
22   also Adams v. United States, 2009 WL 1884387 (D. Id. June 28, 2009) (same).
23   “Admissible documents are evidence, just like testimony. They do not require
24   sponsorship.” Bucklew v. Hawkins, Ash, Baptie & Co., LLP, 329 F.3d 923, 927 (7th
25   Cir. 2003) (affirming provision to jury of exhibit not discussed with any witness).
26         The Federal Rules of Evidence empower the Court to determine questions of
27   admissibility based on all available facts, including facts discerned from the
28   document itself. Any factual disputes affecting the foundation for a document’s


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 1   admissibility under the Rules of Evidence are for the Court to resolve. Bourjaily v.
 2   United States, 483 U.S. 171, 175 (1987) (affirming admission of out-of-court
 3   statements under co-conspirator exception when court determined existence of
 4   conspiracy through hearsay evidence). Rule 104(a) directs that in deciding “any
 5   preliminary question about” whether “evidence is admissible,” the court itself “is not
 6   bound by evidence rules, except those on privilege.” If that were not clear enough,
 7   the Advisory Committee Notes make explicit that the Court may determine
 8   foundation for the admissibility of a document based on its contents:
 9         An item, offered and objected to, may itself be considered in ruling on
           admissibility, though not yet admitted in evidence. Thus the content of
10         an asserted declaration against interest must be considered in ruling
           whether it is against interest.
11   Fed. R. Evid. 104(a) Adv. Comm. Notes.
12         The fact that a “sponsoring witness” is not required to lay foundation for
13   documents is further confirmed by: (1) Rule 901(b), which provides non-exhaustive
14   “examples” of methods of authentication, including both “testimony that an item is
15   what it is claimed to be” and also “the appearance, contents, substance” of the “item”
16   itself; and (2) Rule 902, which provides various methods by which documents are
17   “self-authenticating.” Fed. R. Evid. 901(b)(1) (“Testimony of a Witness with
18   Knowledge”); 901(b)(4) (“Distinctive Characteristics and the Like”); 902 (“Evidence
19   That Is Self-Authenticating”). These rules would be rendered a nullity if, as
20   Defendants argue, a sponsoring witness is always required to establish a document’s
21   foundation for admissibility.
22         Defendants’ insistence otherwise conflates the admissibility of a document
23   with the propriety of the questions a trial witness may be asked about the document.
24   Defendants’ citation of Rule 602 in the proposed final pretrial conference order
25   exemplifies this confusion. Dkt. 1331-1 at 52. Rule 602 states that “[a] witness may
26   testify to a matter only if evidence is introduced sufficient to support a finding that
27   the witness has personal knowledge of the matter.” The rule does not apply to the
28   admissibility of documents at trial. See Corkill v. Preferred Emps. Grp., LLC, 2011


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 1   WL 5975678, at *4 (S.D. Cal. Nov. 28, 2011) (“Rule 602 is inapplicable as it applies
 2   to witness testimony not documents.”); TEK Global, 2017 WL 952955, at *1
 3   (overruling Rule 602 objection to documents for the same reason). To the extent
 4   Defendants wish to argue that a witness cannot be questioned about a document they
 5   neither authored or received, that is a hypothetical objection to a question that has
 6   not yet arisen—and would be handled in the context of a witness exam—but is not a
 7   proper objection to the admissibility of the document. Rule 602 does not require
 8   Plaintiffs to establish that a witness had personal knowledge of a particular document
 9   in order to admit that document into evidence. Nor does any other Rule of Evidence.
10                 2.    The Court Should Overrule Defendants’ 50 Objections That
                         Fail to Specify What Foundation Is Missing.
11         Of the 118 foundation objections by Defendants that remain in dispute, 50 are
12   standalone “foundation” objections that fail to identify any substantive reason to deny
13   admissibility, such as authenticity, relevance, or hearsay. Because these 50
14   documents are therefore indisputably authentic, relevant, and not subject to any
15   hearsay objection—as Defendants’ failure to timely object concedes—there is no
16   need for a live witness to provide any facts to establish admissibility. The Court
17   should therefore overrule Defendants’ free-standing “foundation” objection as to the
18   exhibits listed in Appendix A.
19                 3.    The Court Should Overrule the Other 68 Objections, as the
                         Documents Are Authentic, Relevant, and Non-Hearsay.
20
           For the remaining 68 documents as to which Defendants object to
21
     “foundation,” the facts necessary to establish their admissibility are clear from the
22
     documents themselves. A sponsoring witness is neither required nor necessary.
23                    a)    There Is No Authenticity Objection to Any Document.
24         As an initial matter, Defendants do not raise an authenticity objection under
25   Rule 901 to a single document on Plaintiffs’ entire exhibit list. Nor could they have
26   done so. Authenticity is a threshold condition for admissibility, satisfied by “evidence
27   sufficient to support a finding that the matter in question is what the proponent claims
28   it is.” Orr v. Bank of America, NT & SA, 285 F.3d 764, 773 (9th Cir. 2002) (quoting


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  1   Fed. R. Evid. 901(a)). Documents produced by a party opponent from their own files
  2   in the course of discovery are deemed authentic by operation of law, as are the NFL-
  3   produced documents here. See Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd.,
  4   454 F. Supp. 2d 966, 972 (C.D. Cal. 2006) (“Authentication can be accomplished by
  5   judicial admission, such as . . . production of the items at issue in response to a
  6   discovery request”); In re Homestore.com, Inc. Sec. Litig., 347 F. Supp. 2d 769, 781
  7   (C.D. Cal. 2004) (“[T]he documents are deemed authentic because Plaintiff identified
  8   the documents as being produced by parties in discovery.”). And all documents
  9   produced by third parties such as CBS, FOX, DirecTV, and others are supported by
 10   a business records affidavit, meaning they “require no extrinsic evidence of
 11   authenticity in order to be admitted.” Fed. R. Evid. 902(11).
 12                       b)     The Documents Are Admissible Under Rules 402 and
                                 403 Given Prior Motion in Limine and Other Rulings.
 13         The relevance of the documents is apparent from the fact they address matters
 14   that bear directly on Plaintiffs’ claims, such as Defendants’ price-fixing, exclusivity
 15   arrangements, the resulting harm, or the rationales that Defendants have offered to
 16   justify their conduct. Defendants’ objections to Rule 402 and/or Rule 403 are nearly
 17   entirely based on Motions in Limine or “Priority Objections” that they already lost
 18   pursuant to rulings of this Court. The remaining documents are relevant to Plaintiffs’
 19   claims and Defendants largely appear to object because the content will be harmful
 20   to their defenses (rather than any “unfair” prejudice). Indeed, being harmful to one’s
 21   case is not legal prejudice at all. Because these documents are relevant and no danger
 22   of unfair prejudice substantially outweighs their probative value, they do not require
 23   any further foundation to establish their admissibility under Rules 402 and 403.
 24                             (i)    Defendants’ MIL No. 4 Was Denied.
 25         Defendants object to five documents on the grounds of “foundation” and cite
 26   their Motion in Limine No. 4 “for preservation purposes.” See TX-771, TX-806, TX-
 27   808, TX-836, TX-837. The Court denied that motion, which sought to preclude
 28   evidence regarding the pricing of the Sunday Ticket .TV product. Dkt. 1305.


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                                (ii)   Priority Objection Nos. 1-3 Were Denied.
  1
            Defendants also object to several documents based on their priority objection
  2
      Nos. 1-3, which the Court denied. See Transcript of May 16, 2024 Hearing at 23-24.
  3
            First, Defendants object to seven documents on the grounds of “foundation”
  4
      and the NFL’s “Priority Objection #1,” which sought to preclude evidence of the
  5
      NFL’s 1994 - 2002 agency agreements with DirecTV, pursuant to which the NFL
  6
      expressly set the price of Sunday Ticket. 1 The Court indicated at the Final Pre-Trial
  7
      Conference that it was inclined to overrule that objection, as it should. Thus, Rules
  8
      402 and 403 should not bar the admission of these highly relevant documents.
  9
            Second, Defendants object to TX-611 on the grounds of “Foundation,” Rule
 10
      403, and “Priority Objection #2” because this internal NFL email and analysis relates
 11
      to the pricing of Sunday Ticket internationally. As the Court tentatively ruled,
 12
      evidence regarding lower pricing in international markets, where Sunday Ticket is
 13
      not exclusive, is admissible and bears directly on Plaintiffs’ claims that they were
 14
      overcharged for Sunday Ticket as a result of Defendants’ anticompetitive conduct.
 15
            Third, Defendants object to “Foundation” and cite Rule 402, Rule 403, and
 16
      Defendants’ “Priority Objection #3” to 12 documents. Defendants’ “Priority
 17
      Objection #3” asserted that any evidence concerning the NFL’s recent negotiations
 18
      with streaming providers should be excluded under Rules 402 and 403. These
 19
      documents, which relate to the Google/YouTube deal that continued Defendants’
 20
      wrongful course of conduct, are relevant to Plaintiffs’ claims regarding their control
 21
      over the market for NFL telecasts. The Court indicated at the Final Pre-Trial
 22
      Conference that it was inclined to overrule that objection, as it should. Thus, Rules
 23
      402 and 403 should not bar the admission of any of these documents either. 2
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        TX-724, TX-725, TX-726, TX-740, TX-747, TX-773, TX-774.
      2
       TX-503, TX-504, TX-519, TX-520, TX-548, TX-552, TX-555, TX-693, TX-850.

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                               (iii)   MIL Nos. 2-3 Objections Should Be Denied.
  1
            Defendants object to 23 documents on “foundation” and cite Rules 402 or 403,
  2
      and/or the Court’s rulings on Defendants’ Motion in Limine No. 3 or Defendants’
  3
      Motion in Limine No. 2. 3 These objections should be overruled.
  4
            First, TX-773 is dated December 3, 2002, and titled “DIRECTV CONTRACT
  5
      ISSUES – DECISION POINTS.” The document discusses contractual terms the NFL
  6

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 21
            The NFL produced this document as a “Hard Copy” with no metadata. The
 22
      only potentially proper objection would be to authenticity, which Defendants have
 23
      not raised. By objecting to foundation, Defendants seek to deny this documents’
 24
      admissibility merely because it is a hard copy and is a smoking gun.
 25
            Nothing in this document refers to litigation involving the NFL, meaning the
 26
      Court’s ruling on Defendants’ Motion in Limine No. 3 does not preclude the
 27
      3
 28    TX-650; TX-704; TX-704A ; TX-704B; TX-704C; TX-704D; TX-704E; TX-704F;
      TX-704G; TX-704H; TX-773; TX-865; TX-865A; TX-865C; TX-865D; TX-865E;
      TX-865F; TX-865G; TX-865H; TX-865I; TX-865J; TX-865K; TX-865L.

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  1   document’s admission. The order excluding “evidence of the existence and outcomes
  2   in past lawsuits against the NFL” does not encompass evidence of the NFL’s internal
  3   concerns about the legality of its conduct. 4 See Dkt. 1304 at 9 (emphasis added). The
  4   fact that the document relates to the change from an agency relationship to a rights-
  5   fee relationship does not bar its admission, as the Court’s ruling on Defendants’
  6   “Priority Objection #1” made clear. And while it may be harmful to Defendants’ case
  7   that the NFL was worried
  8                  that is not the sort of “unfair” prejudice that would bar such plainly
  9   relevant evidence. To the contrary, it would be an entirely fair inference for the jury
 10   to conclude that because of its concerns over                       , the NFL became
 11   more clever about characterizing the terms of its contracts with DirecTV, while
 12   finding other ways to maintain its actual control over Sunday Ticket’s price.
 13         Second, TX-839 is a November 14, 2003, draft long form agreement that the
 14   NFL sent to DirecTV to memorialize their December 6, 2002 term sheet. On the very
 15   same day,
 16

 17

 18

 19           See TX-393 at p. 2. The NFL apparently objects to the draft long form based
 20   on its Motion in Limine No. 3 because the draft indicates
 21

 22
      4
 23    Defendants’ objection to TX-632 on the grounds of Defendants’ Motion in Limine
      No. 3 is meritless for the same reaso
 24

 25                                                         case settlement. But the Shaw
      settlement provided only that the release and covenant not to sue would apply past
 26   the 2002 season if the weekly package was offered. The weekly package continued
      to be offered only because the NFL chose to do so–it was not a requirement of the
 27   Shaw settlement and the document does not mention Shaw at all. If the NFL wants
      to try to argue that they included this provision because of Shaw (as their Rule
 28   30(b)(6) witness testified), that is a problem of Defendants’ own making since they
      moved to exclude evidence of Shaw. The Court’s order does not bar Plaintiffs from
      introducing relevant evidence about pricing restraints in the DirecTV agreement.

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  1   settlement in Shaw (also called Schwartz after the name of one of the plaintiffs)
  2

  3           TX-839 at pp. 3-4. Plaintiffs are willing to redact the reference to Shaw but
  4   reserve their rights to revisit this issue should Defendants open the door to discussing
  5   Shaw and its connection, if any, to the weekly package offering.
  6         Third, Defendants object to TX-650, an internal NFL document describing the
  7   history of its media rights since the 1950s on the grounds of “Foundation” and their
  8   Motions in Limine 2 and 3. The document’s brief reference to the NFL I and NFL II
  9   decisions does not discuss the specific wording of the Court’s orders in those cases
 10   and thus is not barred by the Court’s order on Motion in Limine No. 3. And the short
 11   reference to the NCAA decision can be redacted (so long as Defendants do not open
 12   the door, as stated in the Court’s ruling on Motion in Limine No. 2).
 13         Defendants object to the remaining exhibits because they originated as exhibits
 14   to depositions taken in Shaw. But this evidence does not violate the Court’s order on
 15   Defendant’s Motion in Limine No. 3 as Defendants’ motion sought to preclude only
 16   evidence of past lawsuits not admissible evidence from those lawsuits.
 17                             (iv) Rule 402/403 Objections Should be Denied.

 18         Defendants object to “Foundation” and cite Rules 402 and 403 (but no Motion
 19   in Limine or “Priority Objection”) to five documents, all of which are plainly relevant
 20   and whose probative value is not substantially outweighed by any danger of unfair
 21   prejudice.
 22         The first document, TX-686, was prepared by the NFL’s “LA Team” and
 23   circulated by the NFL executive Hans Schroeder. That document acknowledged that
 24

 25

 26

 27                                                                       The fact that this
 28   document undermines the NFL’s arguments is not a reason to exclude the evidence.


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  1         TX-543 was produced by ESPN, which lost out to YouTube to distribute
  2   Sunday Ticket because the NFL did “not like”
  3

  4             See TX-696. This document, which has been proven up and authenticated
  5   as business records and shows ESPN’s analysis as they were contemplating a bid that
  6   would have made Sunday Ticket available to consumers at a far cheaper rate than
  7   DirecTV or YouTube is highly relevant and there is no danger of unfair prejudice.
  8         The last three documents reflect data upon which Plaintiffs’ experts rely. TX-
  9   657 reflects the NFL’s model for a standalone version of Sunday Ticket on which
 10   Plaintiffs’ expert Dr. Zona relies. TX-721 reflects “NFL Sunday Ticket Survey
 11   Results” prepared for DirecTV’s parent AT&T and on which Plaintiffs’ survey expert
 12   relies. And TX-722 reflects Verizon’s “carriage rates” for various cable channels,
 13   including FOX and CBS – financial data on which Plaintiffs’ expert Professor
 14   Rascher relies. This data is relevant and there is no “unfair prejudice” that Defendants
 15   would suffer from its admission.
 16                            (v) Rule 403 Objections Should Be Denied.

 17         Defendants object to “foundation” and “Rule 403” for three documents.
 18   Defendants thereby concede that all three are relevant and thus presumptively
 19   admissible. Fed. R. Evid. 402. But Defendants make no showing that the probative
 20   value of these documents is substantially outweighed by any danger of unfair
 21   prejudice (nor that Plaintiffs are required to establish more “foundation” with a live
 22   witness to establish that the documents are admissible under Rules 402 and 403).
 23         TX-800 is an internal NFL email dated February 14, 2018, discussing various
 24   issues regarding “NFLST” that would be discussed with senior NFL leaders Hans
 25   Schroeder and Brian Rolapp, including
 26                  . Defendants object insofar as the document references some litigation
 27   involving AT&T. Plaintiffs do not intend to question witnesses about or draw the
 28   jury’s attention to that portion and, if the Court requires, would be happy to redact it.


                                                 10
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  1         TX-687 is an NFL email attaching consumer research on NFL fans, including
  2   slides showing that 60% of fans “say following their favorite team was very
  3   important to building their interest,” supporting Plaintiffs’ argument that fans were
  4   harmed by the lack of availability of a “single team” package to out-of-market games.
  5         TX-797 is an investor presentation prepared by the NFL that addresses
  6   multiple relevant topics, including (1) an overview of the NFL’s media deals with
  7   FOX, CBS, and DirecTV; (2) financial data breaking down the NFL’s revenue by
  8   category, including from media rights; (3) information regarding the salary cap; and
  9   (4) data showing the popularity of NFL content (37 of the Top 50 TV shows in 2017).
 10   To the extent the NFL objects because one slide references
 11   Plaintiffs do not intend to question witnesses or draw the jury’s attention to those
 12   portions and, if required by the Court, would be happy to redact such portions.
 13                       c)     The Documents Are Not Barred by the Hearsay Rule.

 14
            None of the documents as to which the NFL objects to “Foundation” are barred

 15
      by the rule against hearsay. Seven of these were produced by third parties from whom

 16
      Plaintiffs have obtained a business records affidavit that satisfies the requirements of

 17
      Rule 902(11) and the business records exception to hearsay under Rule 803(6). See

 18
      TX-536, TX-721, TX-763, and TX-764-66 (DirecTV-produced documents

 19
      supported by affidavit at TX-466) 5; TX-715 (Comcast-produced document supported

 20
      by affidavit at TX-293). The remaining documents were produced from the NFL’s

 21
      files and are not inadmissible hearsay under Rule 801.

 22
            First, TX-789 is a 1986 letter from Neil Austrian to former NFL Commissioner

 23
      Pete Rozelle proposing the original idea for Sunday Ticket and describing a plan that

 24
      would allow

 25
                           On its face, the document falls within the hearsay exception for

 26
      ancient documents as it was prepared before January 1, 1998. Fed. R. Evid. 803(16).6

 27   5
        DirecTV’s statements are also not hearsay when offered against Defendants because
 28   they were “made by the party’s coconspirator during and in furtherance of the
      conspiracy” to restrain the market for NFL telecasts. Fed. R. Evid. 801(d)(2)(E).
      6
        TX-704A, TX-704B, TX-704C, TX-704D, TX-704E, TX0704F, TX-704H also

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  1         Second, TX-770 is an email from NFL employee Hannah Farr to another NFL
  2   employee Brent Lawton concerning her
  3                                                                           TX-770. The
  4   attached deck bears an NFL logo and is titled “NFL/DirecTV Sunday Ticket Insights
  5   May 2018.” Metadata indicates the deck was authored by Kathryn “Katie” Hevia,
  6   Director of Consumer Insights & Research at the NFL. The document is not hearsay
  7   pursuant to Rule 801(d)(2)(D) because the statements are made by NFL employees
  8   on “a matter within the scope of that [employment] relationship.” 7
  9         Third, TX-667 is an internal NFL email attaching a report prepared by the
 10

 11             a document relied upon by Plaintiffs’ experts. TX-667 at p. 3 (
 12

 13                          This document is admissible under Rule 801(d)(2)(D) (a
 14   statement is “not hearsay” if it is “offered against an opposing party” and “was made
 15   by the party’s agent or employee on a matter within the scope of that relationship
 16   and while it existed”) (emphasis added).
 17         Finally, TX-727 is the NFL’s October 27, 2004, draft of what became the
 18   November 8, 2004, DirecTV contract for Sunday Ticket. The document appears to
 19   contain notes written by NFL employee Frank Hawkins and reflecting comments
 20   made by Chase Carey, DirecTV’s then-CEO. The document itself is a party
 21   admission under Rule 801(d)(2)(D), as are Mr. Hawkins’ notes (as would be the notes
 22   of any NFL employee who would have been negotiating with DirecTV about Sunday
 23   Ticket). To the extent the notes memorialize statements made by Mr. Carey, those
 24   particular statements are also not hearsay as (1) they are statements “offered against
 25   an opposing party” and “made by the party’s coconspirator during and in furtherance
 26   of the conspiracy”; and (2) they are admissible for the non-hearsay purpose of
 27

 28   predate 1998 and fall under the same exception.
      7
        TX-727 and TX-853 are non hearsay pursuant to Rule 801(d)(2)(D) for the same
      reasons.

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  1   showing the effect on the listener and information acted upon by Defendants.
  2               4.     The Documents Are Independently Admissible As
                         Impeachment.
  3         Many of the disputed exhibits are also admissible for an additional,
  4   independent reason: to impeach trial witnesses, whether they appear live or through
  5   designated deposition testimony. This is true whether or not that witness is called by
  6   Plaintiffs or by Defendants. Fed. R. Evid. 607 (“Any party, including the party that
  7   called the witness, may attack the witness’s credibility”). Moreover, documents
  8   introduced for impeachment are admissible as substantive evidence as long as they
  9   satisfy the other requirements of admissibility. Refusal to permit impeachment
 10   evidence is grounds for reversible error. United States v. Stewart, 907 F.3d 677, 691
 11   (2d Cir. 2018) (vacating conviction because district court refused to admit
 12   inconsistent statement by third party contradicting defendant’s hearsay statement).
 13                      a)     Impeachment of NFL Defendants
 14         Many disputed exhibits are admissible as impeachment of 1) any NFL witness
 15   who testifies live at trial and 2) any NFL admissions that are introduced as evidence,
 16   such as interrogatory responses and Rule 30(b)(6) testimony.
 17         Statements made a party opponent are admissible to attack that party’s
 18   credibility. United States v. Shay, 57 F.3d 126, 132 (1st Cir. 1995) (“the credibility
 19   of the party-opponent is always subject to an attack” (quoting Senate Judiciary
 20   Committee report on Fed. R. Evid. 806)); United States v. Velasco, 953 F.2d 1467,
 21   1473 n.5 (7th Cir. 1992) (same).
 22         Here, statements by Defendants denying the NFL’s involvement in setting the
 23   price of Sunday Ticket and arguing that the challenged restraints are justified by
 24   “competitive balance” are subject to impeachment by NFL internal documents
 25   showing otherwise. These documents show, among other things, that the NFL was
 26   involved in pricing the Sunday Ticket package purchased by class members and was
 27   aware of studies that showed no correlation between revenue sharing and competitive
 28   balance. See, e.g., TX-748


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  1                                                                                        TX-
  2   814 (
  3                                                   TX-818
  4

  5           Each such document is admissible to impeach any contrary testimony offered
  6   by Defendants, as well as Rule 30(b)(6) testimony of the NFL or DirecTV. See United
  7   States v. All Assets Held in Acct. No. XXXXXXXX, 2019 WL 13197264, at *4 n.5
  8   (D.D.C. June 12, 2019) (“If Bagudu seeks to attack the truthfulness of the
  9   government’s Rule 30(b)(6) testimony, he may do so by using the allegedly
 10   contradictory evidence to impeach Hicks’ Rule 30(b)(6) testimony.”).
 11                      b) Impeachment of Deposition Testimony

 12
              Federal Rule of Evidence 806 provides yet another avenue for the admission

 13
      of the challenged exhibits: impeachment of deposition testimony that will be played

 14
      to the jury. Rule 806 states:
              When a hearsay statement—or a statement described in Rule
 15
              801(d)(2)(C), (D), or (E)—has been admitted in evidence, the declarant’s
 16           credibility may be attacked, and then supported, by any evidence that
              would be admissible for those purposes if the declarant had testified as a
 17
              witness. The court may admit evidence of the declarant’s inconsistent
 18           statement or conduct, regardless of when it occurred or whether the
              declarant had an opportunity to explain or deny it.
 19

 20
              This rule expressly permits the admission of statements or conduct that are

 21
      inconsistent with deposition testimony played at trial without any requirement that

 22
      the proponent lay the foundation for the inconsistency with the deponent. The

 23
      Advisory Committee Notes make this clear:
              Deposition procedures at best are cumbersome and expensive, and to
 24
              require the laying of the foundation may impose an undue burden…. The
 25           rule dispenses with the requirement in all hearsay situations, which is
              readily administered and best calculated to lead to fair results.
 26

 27   Fed. R. Evid. 806 Adv. Comm. Notes. All the techniques of impeachment available

 28   to challenge the credibility of a live witness may be used to impeach the credibility
      of a hearsay declarant under Rule 806. See 5 Weinstein’s Federal Evidence § 806.04

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  1   (2024). Evidence of prior statements or conduct can be introduced so long as the
  2   inconsistency is logically connected to the admitted hearsay statement (or deposition
  3   testimony). And it has long been recognized that inconsistency is a low bar to clear.
  4   See Stewart, 907 F.3d at 687 (“[S]tatements need not be diametrically opposed to be
  5   inconsistent.”); accord United States v. Jones, 808 F.2d 561, 568 (7th Cir. 1986).
  6         As applied here, Rule 806 allows a party to introduce evidence to impeach the
  7   credibility of any witness who testifies via deposition after that testimony is admitted
  8   into evidence. A party may offer evidence to impeach a deponent, whether or not the
  9   deposition testimony is offered in their case-in-chief or their opponent’s case. In
 10   Johnson v. Bay Area Rapid Transit District, for example, the Court granted
 11   Defendants’ motion to quash Plaintiffs’ subpoena of an individual defendant (who
 12   was out of subpoena range on active duty), but then permitted Plaintiffs to designate
 13   his deposition testimony and to offer evidence impeaching that testimony. See 2014
 14   WL 2514542, at *3 n.4 (N.D. Cal. June 4, 2014) (“to the extent there are
 15   inconsistencies between Pirone’s deposition testimony and his prior criminal
 16   testimony, the Court will permit Plaintiffs to impeach Pirone’s deposition testimony
 17   with the prior inconsistencies”). Other cases are in accord. See One Source Env’t,
 18   LLC v. M + W Zander, Inc., 2015 WL 13505360, at *1 (D. Vt. Dec. 8, 2015)
 19   (admitting affidavit to impeach deposition testimony); Reliable Money Ord., Inc. v.
 20   Mcknight Sales Co., Inc., 2013 WL 12180512, at *2 (E.D. Wis. Sept. 11, 2013)
 21   (admitting evidence to impeach deposition testimony from that case).
 22         In sum, Rule 806 requires the admission of any evidence of statements or
 23   conduct that are inconsistent with deposition testimony that will be played to the jury.
 24   Because Defendants refused to bring many NFL witnesses for trial, including by
 25   successfully moving to quash a subpoena issued to one of the NFL’s top officers,
 26   Hans Schroeder, a significant amount of testimony by NFL and DirecTV witnesses
 27   will be shown by deposition. Rule 806 entitles Plaintiffs to admit any evidence that
 28   impeaches statements made in those depositions. Defendants’ foundation objections


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  1   do not establish otherwise. Indeed, in the Rule 806 context, the “sponsoring witness,”
  2   though not required, is the deponent whose testimony will be played to the jury.
  3         Here is an example of how the exhibits in question could be admitted under
  4   Rule 806: Robert Stecklow, a former DirecTV employee who worked with the NFL
  5   on Sunday Ticket during the class period, is out of subpoena range and the NFL has
  6   not called him. Plaintiffs must therefore present his testimony by deposition
  7   designation. Stecklow testified in deposition that he
  8

  9                                                           Stecklow Dep. Tr. 23:14-20.
 10         The documents tell a much different story. TX-267 is a slide deck that
 11   Stecklow put together, which states that
 12                                                     In TX-536, Stecklow writes in an
 13   email that
 14                                                                          Each of these
 15   documents impeaches Stecklow’s deposition statements about
 16                              Rule 806 entitles Plaintiffs to publish these documents to
 17   the jury once the testimony is admitted into evidence, regardless of whether Plaintiffs
 18   asked Stecklow about them during his deposition. See Fed. R. Evid. 806 (“The court
 19   may admit evidence of the declarant’s inconsistent statement or conduct, regardless
 20   of … whether the declarant had an opportunity to explain or deny it.”).
 21         While the Defendants object to TX-536 on foundation grounds, they register
 22   no objection to TX-267. That inconsistency makes no sense. Both documents concern
 23   the same subject matter, both were introduced in the deposition of Stecklow’s
 24   colleague Alex Kaplan, and both have been authenticated by a DirecTV business
 25   records affidavit, making them independently admissible under Rule 803(6) and
 26   under Rule 902(11) (even though Defendants never question their authenticity). 8
 27

 28   8
        The statements are also independently admissible as statements made by co-
      conspirators in furtherance of the conspiracy under Rule 801(d)(2)(E).

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  1         In conclusion, Defendants’ foundation objections are uniformly meritless. No
  2   live witness is required to establish foundation where the documents in question are
  3   authentic, relevant (and not unfairly prejudicial), and not barred by the hearsay rule.
            B.      Evidence of Product Quality Is Inadmissible Unless Tied to
  4                 Challenged Restraints
  5         This Court has ruled that “product quality … is only relevant if it is related to
  6   the challenged restraint,” and “[w]ithout that link, this evidence is inadmissible as
  7   irrelevant.” Order on Plaintiffs’ Motion in Limine No. 2, Dkt. 1292 at 5. Defendants
  8   cannot use evidence of product quality to show why class members bought Sunday
  9   Ticket without connecting that quality to the restraints. The Court’s order likewise
 10   precludes Defendants from arguing that these restraints are justified simply because
 11   product features existed or increased consumer demand for the NFL. Yet Defendants
 12   intend to do just that—by introducing evidence about “quality” or “innovation” with
 13   no tether to the challenged restraints. In the joint statement of the case, Defendants
 14   proposed telling the jury that “[t]he business agreements challenged by Plaintiffs
 15   ensure that consumers across the United States have broad access to watch
 16   competitive and exciting NFL football games and have high quality options to view
 17   those games.” Whether the evidence is couched as quality, innovation, or any other
 18   procompetitive justification, it is admissible only if linked to challenged restraints.
 19         Defendants’ exhibits, deposition designations, and jury instructions make clear
 20   they intend to violate the Court’s order on the subject. For example, Defendants
 21   designated testimony from NBC that “quality” announcers contribute to “quality”
 22   broadcasts, Pietrycha 140:22-141:19, and insist that it “goes to Defendants’
 23   presentation of the procompetitive benefits of the current system.” But none of that
 24   testimony—or any other related testimony—refers to the challenged restraints. This
 25   attempt to unmoor the alleged procompetitive benefits from the restraints they
 26   supposedly justify is best exemplified by Defendants’ proposed jury instructions,
 27   which seek to edit the ABA model instruction to prevent the jury from being
 28   instructed that “procompetitive benefits” have to be “countervailing” to the restraint.


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  1   See Dkt. 1364 at 53. But if Defendants cannot show that the restraints improved the
  2   product then they cannot show the restraints are justified on that basis. “The only
  3   permissible argument is that the restraints are what make the product high quality.”
  4   Dkt. 1292 at 5.
  5         That is why the exhibits and testimony that Defendants seek to introduce about
  6   product innovations and specific quality features of NFL telecasts are inadmissible.
  7   And Defendants cannot justify this evidence by claiming that the required link to the
  8   restraints will be established through expert testimony. Defendants’ expert Dr.
  9   Bernheim has offered no opinion on this specific point—attributing any innovation
 10   or quality of NFL telecasts during the class period to a challenged restraint. Instead,
 11   Bernheim offers abstract opinions that exclusivity creates incentives to “maintain”
 12   and “enhance” quality, Dkt. 956-10, Bernheim Report ¶¶ 533-544. He makes no
 13   claim that NFL games would lack such quality in the but-for-world. And he is barred
 14   by Rule 26 from offering any new opinions at trial. Defendants cannot lay the
 15   foundation to prove that the aspects of the product they wish to highlight were
 16   improved as a result of the restraints.
 17         Defendants intend to introduce this evidence to confuse the issues, and to
 18   prejudice Plaintiffs by misleading the jury into considering product quality in its rule
 19   of reason analysis. Plaintiffs raise this issue now, before trial begins, so that the Court
 20   can police compliance with its order and prevent a motion from Plaintiffs for a
 21   mistrial.
             C.    Statements Made by Jerry Jones Are Admissible Regardless of
 22                Whether They Were Made in a Complaint
 23         Defendants have raised meritless objections to the introduction of statements
 24   that Jerry Jones made in a complaint by the Dallas Cowboys against the NFL alleging
 25   a “price-fixing cartel that has eliminated free competition among NFL clubs” in the
 26   licensing of club trademarks, and to the introduction of the complaint itself, TX-
 27   703D. These are admissible statements of a party opponent under Rule 801(2)(d),
 28   and highly relevant to the jury’s consideration whether (a) pooling intellectual


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  1   property rights makes the NFL a “cartel”; (b) whether there would be more
  2   competition in teams licensing their intellectual property rights in the absence of a
  3   cartel; and (c) whether the competitive balance justification is pretextual, as Jones
  4   states in the complaint. See TX-703 at -320 (“the equal sharing of profits does not in
  5   fact lead to competitive balance”). This evidence does not violate the Court’s
  6   order on Defendant’s Motion in Limine No. 3 as Defendants’ motion did not
  7   reference this case at all RU preclude prior inconsistent statements made by party
  8   opponents simply because they occurred in the context of litigation.
           D.     Defendants’ Meritless Positions Regarding Deposition
  9               Designations Should Be Rejected.
 10         Defendants are improperly attempting to prevent Plaintiffs from streamlining
 11   their presentation of evidence to the jury through effective use of deposition video.
 12   Plaintiffs have gone to great lengths to ensure that the deposition videos they intend
 13   to play are short and to the point—some are as short as 2:13 minutes and the longest
 14   is 9:29 minutes. Yet Defendants seek to triple the run time of these videos by
 15   attempting to portray their own deposition designations as “Rule 106” completeness
 16   objections. Despite the fact that numerous courts have permitted parties to organize
 17   deposition designations by subject matter in order to aid juror comprehension,
 18   Defendants insist that all designations be played sequentially. Defendants also object
 19   to Plaintiffs playing non-cumulative portions of deposition testimony involving Brian
 20   Rolapp so that their live cross-examination may focus on other topics. The Court
 21   should reject these attempts to prevent Plaintiffs from presenting evidence succinctly
 22   and clearly during their case-in-chief, thereby aiding juror comprehension.
 23                1.    Defendants’ Completeness Objections Exceed Rule 106.
 24         Under the guise of “completeness” under Rule 106, Defendants propose to add
 25   an additional two hours and fifty-seven minutes in response to the one hour nineteen
 26   minutes of testimony designated by Plaintiffs. These attempts to litter Plaintiffs’
 27   case-in-chief with unrelated testimony run contrary to Rule 106 and the Court’s clear
 28   ruling that Defendants’ designations to advance their case would be played in their


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  1   case, not during Plaintiffs’ case. See Transcript of May 16, 2024 Hearing at 28-30.
  2         The Ninth Circuit has recognized that the purpose of Rule 106 is to “correct a
  3   misleading impression of a prior statement created by taking [those statements] out
  4   of context.” United States v. Collicott, 92 F.3d 973, 983 (9th Cir. 1996). The rule of
  5   completeness prevents a party from introducing a misleadingly tailored snippet so as
  6   to avoid any resulting “misunderstanding or distortion.” United States v. Vallejos,
  7   742 F.3d 902, 905 (9th Cir. 2014). But the rule of completeness does not apply “if
  8   the complete statement [does] not serve to correct a misleading impression.” Id.
  9   (concluding that jury was not “misled” by introduction of redacted transcript omitting
 10   declarant’s “prior prison sentence, his drug history, and his church …”).
 11         Rule 106 does not justify Defendants’ proposed addition of deposition
 12   testimony, much of which is in the NFL’s own affirmative designations. Consider
 13   the case of DirecTV employee Jamie Dyckes. Defendants seek to add more than 20
 14   minutes of testimony as “completeness” to the 4:50 minutes proposed by Plaintiffs.
 15   None of the proposed designations is tailored to correct a misleading impression. For
 16   example, the NFL seeks to designate testimony about the RedZone channel, among
 17   other topics, even though Plaintiffs designated no testimony on any of those subjects.
 18   Further examples abound. Defendants’ attempts to designate additional testimony
 19   finds no support in Rule 106. See Mueller & Kirkpatrick Federal Evidence § 44
 20   (1994) (“[I]t is often perfectly proper to admit segments of prior testimony without
 21   including everything, and adverse parties are not entitled to offer additional segments
 22   just because they are there and the proponent has not offered them.”). The Court
 23   should reject this attempt to intrude on Plaintiffs’ case-in-chief.
 24                2.     Designated Testimony of Brian Rolapp Is Not Cumulative.
 25         As the Court recognized at the pre-trial conference, the appearance of Brian
 26   Rolapp as a live witness at trial does not preclude Plaintiffs from presenting video
 27   deposition testimony to the jury so long as the designated testimony is not
 28   cumulative. See Transcript of May 16, 2014 Hearing at 25. As an initial matter, Mr.


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  1   Rolapp’s deposition testimony as a Rule 30(b)(6) representative of the NFL cannot
  2   be cumulative by definition. See Louisiana Pac. Corp. v. Money Mkt. 1 Institutional
  3   Inv. Dealer, 285 F.R.D. 481, 487 (N.D. Cal. 2012) (“The testimony of an individual,
  4   then, is distinct from the testimony of an entity.”). No NFL corporate representative
  5   is testifying at trial; Rolapp will testify only in his individual capacity. Under Rule
  6   32, each deposition can be used “for any purpose” as Rolapp testified as a “managing
  7   agent” of the NFL and separately as its “Rule 30(b)(6) designee.”
  8         Plaintiffs represent to the Court that the designated testimony will not be
  9   cumulative of their planned cross-examination of Mr. Rolapp, and that designations
 10   will make trial more efficient than if all testimony were live. Plaintiffs currently
 11   anticipate playing a mere 5:17 minutes of testimony from the Rule 30(b)(6)
 12   deposition and 9:01 minutes of testimony from Rolapp’s individual deposition.
 13   Plaintiffs have designated deposition testimony about certain discrete subject matters
 14   that they will not address during their live examination of Mr. Rolapp at trial. These
 15   include the pooling of telecast rights among the NFL teams, the lack of availability
 16   of single-team packages, and the exclusivity of the Sunday Ticket package.
 17         The case law supports Plaintiffs’ position. In Boston Scientific Corp. v. Cook
 18   Medical LLC, the Court permitted designation of deposition testimony of a witness
 19   who would appear live because “both sides had been given twenty hours to present
 20   their case” and defendant would be able to object if the plaintiffs elicited cumulative
 21   testimony. 2023 WL 3604030, at *5 (S.D. Ind. May 22, 2023). See also Luxco, Inc.
 22   v. Jim Beam Brands Co., 2016 WL 6193794, at *1 (N.D. Ill. Oct. 24, 2016)
 23   (permitting introduction of deposition testimony that was not “repetitious or
 24   immaterial in light of [witnesses’] live trial testimony.”).
 25         This includes the cases that Defendants cited in the proposed final pre-trial
 26   conference order. See Corcoran v. CVS Pharmacy, Inc., 2021 WL 1721056, at *5
 27   (N.D. Cal. Apr. 30, 2021) (denying presentation of 30(b)(6) video testimony because
 28   testimony “appears duplicative”); Rigsbee v. City & Cnty. of Honolulu, 2019 WL


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  1   1089636, at *2 (D. Haw. Mar. 7, 2019) (denying proposal to play the entirety of a
  2   235-minute deposition video); Mighty v. Miami-Dade Cnty., 2021 WL 4022616, at
  3   *8–9 (11th Cir. Sept. 3, 2021) (affirming denial of proposal “to introduce portions of
  4   Defendant's videotaped deposition in order to illustrate his demeanor to the jurors”).
  5         Plaintiffs believe that the presentation of certain topics by deposition is the
  6   most efficient way to present the information to the jury. Because the live testimony
  7   will not be repetitive of the designated testimony, and Plaintiffs’ case-in-chief is
  8   subject to a 25-hour time limit, the Court should permit this testimony by deposition.
  9                 3.   Plaintiffs Should Be Permitted to Organize Deposition
                         Videos to Streamline Their Presentation to the Jury
 10         The Court should also permit Plaintiffs to present designated deposition
 11   testimony in the order that most clearly presents their case. In many depositions
 12   which last seven hours, lawyers jump from topic to topic. If the witness then testifies
 13   live at trial, the lawyer can organize their examination by subject matter and impeach
 14   with deposition testimony, if needed, even if it comes from disparate places in the
 15   deposition transcript. However, when the witness does not testify live at trial and the
 16   deposition testimony must be played by video, it aids juror comprehension to re-
 17   arrange the testimony so that it is grouped by subject matter rather than jumping from
 18   topic to topic.
 19         Courts have long blessed this approach, so long as the re-arrangement does not
 20   create a misleading impression. See Michael J. Henke, The Taking and Use of
 21   Videotaped Depositions, 16 Am. J. Trial Advoc. 151 (Summer 1992) (summarizing
 22   cases). That is because Federal Rule of Evidence 611 provides the Court with broad
 23   discretion in controlling “the mode and order of interrogating witnesses and
 24   presenting evidence so as to . . . make the interrogation and presentation effective for
 25   the ascertainment and truth . . . .” Fed. R. Evid. 611.
 26         In Beard v. Mitchell, 604 F.2d 485, 502 (7th Cir. 1979), for example, a witness
 27   who had previously testified in two trials and two depositions was unavailable to
 28   testify in the trial at issue. Rather than designating and presenting the prior testimony


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  1   in sequential order, the plaintiff “sought to integrate the testimony from the four
  2   sources and present it in correspondence with the chronological sequence of events.”
  3   Id. While the district court permitted plaintiff to do so during the first day of trial, it
  4   eventually sustained a defense objection on the grounds that the testimony was
  5   “confusing” and could lead to “false inferences” being drawn. On appeal, the Seventh
  6   Circuit “agree[d] with plaintiff that in some cases it may well be permissible for the
  7   trial court to permit the integrated presentation of deposition testimony,” but found,
  8   under the facts of that case, that the trial court’s refusal to allow it was not error given
  9   the finding that the “manner of presentation” was making it “difficult” to “make
 10   intelligent rulings.” Id. at 503 (emphasis added). See also ETSI Pipeline Project v.
 11   Burlington Northern, No. B-84-979-CA (E.D. Tex. March 16, 1988) (pre-trial order)
 12   (Appendix A) (permitting editing of video to “rearrange the deposition testimony”).
 13   Here, there are no such concerns, as the parties are making their designations well in
 14   advance to facilitate the Court ruling outside the presence of the jury.
 15          Defendants have raised a wholesale objection to the presentation of any
 16   testimony that does not match the chronology of questions of the deposition
 17   transcript. Yet there is no rule that so requires. The Court has discretion to allow
 18   parties to order testimony in the way they determine most clear and persuasive.
 19          Plaintiffs seek only to re-order limited segments of deposition testimony in a
 20   manner that most clearly presents their case to the jury. Plaintiffs submit that they
 21   should be permitted to re-arrange deposition designations by subject matter, which is
 22   in the interest of justice and of avoiding the unnecessary juror confusion that would
 23   result from the fact that certain witnesses are not available to be called to testify live.
 24          E.    Evidence About Other Professional Sports Is Only Admissible
                   When Presented in Proper Context
 25          The Court should not allow Defendants to offer cherry-picked evidence that
 26   compares other professional sports’ leagues with the NFL regarding only the
 27   availability of over-the-air games in the local markets. Defendants’ designation
 28   testimony indicates that they seek to use the Court’s ruling on the NFL’s Motion In


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  1   Limine No. 2—excluding evidence about past litigation over the telecast practices of
  2   other professional sports’ leagues—as both a sword and a shield. 9 Because the
  3   testimony is by deposition, Plaintiffs cannot cross-examine these witnesses at trial.
  4         This testimony, whether offered by deposition or live witnesses, invites
  5   evidence about the anticompetitive nature of those other sports leagues’ conduct—
  6   bearing directly on their contractual arrangements for telecasts of their games and
  7   opening the door to the evidence regarding the antitrust lawsuits against those sports
  8   leagues that the Court has excluded at the request of the Defendants. Permitting this
  9   specific testimony would open the door to collateral litigation over the various
 10   similarities and differences between these sports leagues’ contractual arrangements
 11   and telecast distribution methods and why those differences were themselves the
 12   product of anticompetitive contractual arrangements that led to litigation and,
 13   eventually, more favorable conditions for television viewers of those sports.
 14         Allowing the testimony in question out of context, as Defendants propose,
 15   would potentially mislead the jury into believing that the telecast markets of those
 16   other sports are proxies for a competitive market in the but-for world. Defendants
 17   argue that the NFL’s broadcasting of over-the-air games in local markets requires
 18   that out-of-market games be limited to paid subscriptions to suppress viewership of
 19   out-of-market games and protect over-the-air games from competition. Other sports’
 20   telecasts are also part of systems that were interrelated by agreements among the
 21   teams and the leagues, and which were challenged as illegal under the antitrust laws.
 22   Defendants recognize this fact. Their expert, Dr. Douglas Bernheim, says that the
 23   pricing and availability of other professional sports’ out-of-market games should not
 24   be compared to the NFL, precisely because the prices charged to subscribers for
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      9
 26    See Carey 123:21-125:19, 126:5-135:20; Dyckes (30(b)(6)) 33:11-22, 34:3-37:11,
      38:10-39:4, 39:6-42:3; Dyckes 235:14-236:20; 237:8-238:15, 238:25-240:5; Lawton
 27   207:20-25; Magnus 230:5-7, 231:13-25, 233:14-25, 234:2-11, 235:2-6; Schroeder:
      216:11-25, 217:2-13; Smith, J. 109:14-17, 135:6-25, 136:2-25; Thun 195:10-196:3;
 28   198:18-25, 199:2-23; White 212:7-215:23; York 97:15-98:23, 101:10-102:6,
      102:24:103:5, 140:5-150:5, 105:8-13, 106:11-17, 106:21-108:14, 109:11-13, 109:19-
      23, 140:14-141:19, 146:16-22.

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  1   games reflect the results of antitrust litigation. Bernheim Report ¶ 336 (“A fourth
  2   problem with Dr. Rascher’s comparisons between the NFL and either MLB or the
  3   NHL is that price reductions for OOM packages resulted from litigation rather than
  4   market forces. He acknowledges that litigation played an important role in the context
  5   of MLB’s OOM package, but he dismisses this observation on the grounds that MLB
  6   maintained low prices after the terms of the settlement expired.”). The Court should
  7   thus exclude this testimony.
  8         If, however, the Court permits Defendants to compare the availability of NFL
  9   games over-the-air to those of other sports, Plaintiffs should be entitled to introduce
 10   evidence about the anticompetitive nature of those sports leagues’ contractual
 11   arrangements. If Defendants dispute the anticompetitive nature of those
 12   arrangements, Plaintiffs should be allowed to tell the jury that those other sports
 13   leagues’ broadcast arrangements were challenged for violating the antitrust laws and
 14   that as a result of that litigation, prices were lowered to sports fans. The Court has
 15   already held that any challenge by Defendants to the opinion that the NCAA football
 16   market before 1984 was competitive “will open the door to evidence of NCAA v.
 17   Board of Regents.” Order on Defendants Motion in Limine No. 2, Dkt. 1320 at 4 n.4.
 18   The same logic applies to evidence of other professional sports. If Defendants
 19   challenge Plaintiffs’ evidence about the anticompetitive practices of other sports
 20   leagues, they will open the door to evidence that MLB and the NHL were sued for
 21   antitrust violations. If Defendants open the door, Plaintiffs should be allowed to show
 22   that these leagues entered into contractual arrangements that restrained the teams
 23   from competing in licensing their telecast rights and that the settlement of those cases
 24   resulted in lower charges and improved options for subscribers of out-of-market
 25   games, including the right to buy single-game packages.
 26         The Court should prevent this sideshow altogether by excluding testimony that
 27   compares the availability of over-the-air NFL games to those of other professional
 28   sports’ leagues.


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  1   Dated: May 29, 2024               Respectfully submitted,
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                Appendix A to Plaintiffs’ Rule 16-10 Trial Brief

     Trial Exhibits to Which Defendants Have Objected Only on Foundation


              1. TX-541                                   36. TX-822
              2. TX-630                                   37. TX-826
              3. TX-638                                   38. TX-827
              4. TX-648                                   39. TX-829
              5. TX-649                                   40. TX-830
              6. TX-651                                   41. TX-831
              7. TX-672                                   42. TX-834
              8. TX-716                                   43. TX-838
              9. TX-717                                   44. TX-841
              10. TX-744                                  45. TX-842
              11. TX-745                                  46. TX-843
              12. TX-748                                  47. TX-854
              13. TX-750                                  48. TX-855
              14. TX-769                                  49. TX-856
              15. TX-772                                  50. TX-864
              16. TX-775
              17. TX-777
              18. TX-779
              19. TX-780
              20. TX-782
              21. TX-784
              22. TX-785
              23. TX-787
              24. TX-790
              25. TX-799
              26. TX-801
              27. TX-802
              28. TX-804
              29. TX-805
              30. TX-807
              31. TX-809
              32. TX-810
              33. TX-813
              34. TX-814
              35. TX-818
